  Case 2:21-cv-07927-KSH-JSA Document 1 Filed 04/02/21 Page 1 of 2 PageID: 1




                        UNITED STATES DISTRICT COURT OF NEW JERSEY
                                  DISTRICT OF NEW JERSEY

----------------------------------------------------------------------X
EVELYN BYRD and RENE GIBBS,

                                   Plaintiffs,
                                                                      CIVIL ACTION NO:
                 -against-
                                                                      NOTICE OF REMOVAL
WEREKO KWAME, ZOBENG TRUCKING, LLC,
JOHN AND JANE DOE 1-10 (FICTITIOUS
UNIDENTIFIED INDIVIDUALS) AND ABC
CORPORATION 1-10 (FICTITIOUS
UNIDENTIFIED BUSINESS ENTITIES),

                                    Defendants.
----------------------------------------------------------------------X
To:      Civil Pleadings Clerk, Superior Court
         Union County Justice Center
         2 Broad St.
         Elizabeth, NJ 07601

        JUDGES OF THE UNITED STATES DISTRICT COURT
        DISTRICT OF NEW JERSEY
        ML King Jr. Federal Bldg. & U.S. Courthouse
        50 Walnut Street
        Newark, New Jersey 07207

        Jorge Hernandez, Esq.
        JORGE L. HERNANDEZ, LLC
        100 Jefferson Avenue, Suite 302
        Elizabeth, New Jersey 07201
        JHERNANDEZ@LAWYERHERNANDEZ.COM

        PLEASE TAKE NOTICE that Defendants, WEREKO KWAME and ZOBENG

TRUCKING, LLC, hereby remove the civil action entitled EVELYN BYRD and RENE GIBBS v.

WEREKO KWAME, et al., Docket No.: UNN-L-29-21, from the Superior Court of New Jersey,

Union County, where it is now pending, to the United States District Court of the District of New

Jersey pursuant to 28 U.S.C. §§ 1332 and 1441.

Dated: April 1, 2021
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                                  Respectfully submitted,

                                  GALLO VITUCCI KLAR LLP

                                                /s
                            By:
                                  ROBERTO D. URIBE (RU0067)
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                                  Hackensack, NJ 07601
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                                  201-343-1223 Fax
                                  Attorney for Defendants:
                                  WEREKO KWAME and
                                  ZOBENG TRUCKING, LLC
                                  Our File No.: GBSU-2021-1
